

Diamond Roofing Co., Inc. v PCL Props., LLC (2017 NY Slip Op 06746)





Diamond Roofing Co., Inc. v PCL Props., LLC


2017 NY Slip Op 06746


Decided on September 29, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, CENTRA, PERADOTTO, AND CARNI, JJ.


963 CA 17-00391

[*1]DIAMOND ROOFING CO., INC., PLAINTIFF-RESPONDENT,
vPCL PROPERTIES, LLC, DEFENDANT-APPELLANT. (APPEAL NO. 2.)






COSTELLO, COONEY &amp; FEARON, PLLC, SYRACUSE (NICOLE MARLOW-JONES OF COUNSEL), FOR DEFENDANT-APPELLANT.
LONGSTREET &amp; BERRY, LLP, FAYETTEVILLE (MICHAEL J. LONGSTREET OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Onondaga County (Anthony J. Paris, J.), entered November 15, 2016. The order denied the motion of defendant to reargue. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Empire Ins. Co. v Food City , 167 AD2d 983, 984).
Entered: September 29, 2017
Mark W. Bennett
Clerk of the Court








